                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


    MAXWELL KADEL, et al.,

                                Plaintiffs,                Case No. 1:19-cv-00272-LCB-LPA

                           v.

    DALE FOLWELL, in his official capacity as State
    Treasurer of North Carolina, et al.,

                                Defendants.                JOINT REPORT PURSUANT TO
                                                           FEDERAL RULE OF CIVIL
                                                           PROCEDURE 26(f)




         The Parties, through the undersigned counsel, pursuant to Fed. R. Civ. P. 16(b) and 26(b),

and M.D.N.C. Local Rule 16.1(b), respectfully submit this Joint Report to the Court.

         1.     Pursuant to Fed. R. Civ. P. 26(f) and LR16.1(b) a meeting was held on April 23,

2021 by telephone and was attended by Amy Richardson of Harris, Wiltshire and Grannis LLP

and Tara Borelli of Lambda Legal Defense and Education Fund, Inc. for Plaintiffs and Alan D.

McInnes of the North Carolina Department of Justice for Defendant State of North Carolina

Department of Public Safety (“NCDPS”).1

         2.     In light of the Court’s May 11, 2021 Order granting NCDPS’s Motion for Extension

of Time to Complete Discovery, the Parties agree to the schedule set out in the Order (Dkt. No.

98). The Parties further agree as to all other matters set forth below.

         3.     Discovery Plan.



1
  Because counsel for the Parties continued to confer via email to resolve outstanding issues
through May 11, 2021, this report is timely under Local Rule 16.1(b).




         Case 1:19-cv-00272-LCB-LPA Document 99 Filed 05/11/21 Page 1 of 7
       a.      Without conceding the relevance of any particular discovery topic or

waiving any objections thereto, the Parties agree that discovery will be needed on the

following subjects:

               i.        The North Carolina State Health Plan for Teachers and State

                         Employees (the “SHP”);

               ii.       The exclusion of gender confirming healthcare from the SHP (the

                         “Exclusion”);

               iii.      The factual bases for Plaintiffs’ claims and Defendants’ denials and

                         defenses to those claims; and

               iv.       Any other relevant matters within the scope of Rule 26 of the

                         Federal Rules of Civil Procedure.

       b.      The time to make the disclosures required by Rule 26(a) shall be 21 days

after the scheduling order is entered.

       c.      The Parties agree that the appropriate case management track for this case,

(with any stipulated modification by the Parties as set out below) pursuant to LR 26.1(a) is

the Exceptional track.

       d.      Written discovery limits and deposition limits will be applied per party

group with Plaintiffs collectively constituting one party group, the University .Defendants

collectively constituting a second party group, and the State Health Plan Defendants

constituting a third party group. NCDPS is a fourth party group.

               i.        Interrogatories (including subparts) and requests for admission are

                         limited to 20 in total number by any party group to any other party

                         group.




                                           2

Case 1:19-cv-00272-LCB-LPA Document 99 Filed 05/11/21 Page 2 of 7
               ii.     Depositions are limited to a total of 7 depositions per party group

                       exclusive of depositions of any named party or any expert

                       designated under Rule 26(a)(2). For the avoidance of doubt, the

                       deposition of any named party or any disclosed expert will not count

                       against any party group’s limit of 7 depositions. No witness will be

                       deposed twice, unless a witness is deposed both in their individual

                       capacity and is designated as a witness by any defendant pursuant

                       to Rule 30(b)(6). No expert will be deposed twice regarding the

                       same expert report or written testimony unless the expert offers

                       different opinions for different party groups. The Parties agree to

                       meet and confer about any proposed modifications to these numbers

                       if necessary. The Parties further shall have a duty to confer with

                       each other in an attempt to resolve scheduling conflicts prior to

                       scheduling depositions.

       e.      All Parties consent to email service of discovery requests and responses.

4.     Other Items.

       a.      NCDPS should be allowed until July 1, 2021 to request leave to join

additional parties or amend pleadings. After these dates, the Court will consider, inter alia,

whether the granting of leave would delay trial.

       b.      The Parties have discussed special procedures for managing this case,

including reference of the case to a Magistrate Judge on consent of the Parties under 28

U.S.C. § 636(c), or appointment of a master: At this point, the Parties do not consent to

trial before a Magistrate Judge.




                                          3

Case 1:19-cv-00272-LCB-LPA Document 99 Filed 05/11/21 Page 3 of 7
             c.        The case should be ready for trial 60 days after the Court rules on any

      dispositive motions. Trial is expected to take approximately 5 days.

             d.        Plaintiffs have demanded a trial by jury of all issues so triable pursuant to Fed.

      R. Civ. P. 38.

             e.        The parties shall preserve electronically stored information (“ESI”)

      consistent with Fed. R. Civ. P. 26, 34, and 37. Absent a request for a specific method of

      production, the producing party may produce ESI in any reasonable manner.

             f.        Privileged and Confidential Information: In accordance with Rule

      26(f)(3)(D), the Parties have discussed certain issues related to claims of privilege and

      confidentiality. The Parties agree that they will follow the terms of the Protective Order in

      this matter. The Parties also agree that an inadvertent production of privileged or trial-

      preparation materials (absent a clear written statement of intent to waive such privilege or

      protection) shall not be deemed a waiver or forfeiture of such privilege or protection

      provided that the Party making the production or disclosure promptly identifies any such

      document(s) mistakenly produced after discovery of the inadvertent production. The

      Parties further agree that, upon request, any such mistakenly produced documents shall be

      returned. In the event of a dispute over the production of any privileged materials develops,

      a log shall be made specifically identifying all said information. In the event that the use

      or further disclosure of any privileged materials develops during this action, the receiving

      Party must sequester all copies of said information and may not use or disseminate the

      information contained therein until such time as the dispute over the claim of privilege is

      resolved by the Court.


Dated: May 11, 2021



                                                   4

      Case 1:19-cv-00272-LCB-LPA Document 99 Filed 05/11/21 Page 4 of 7
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                                              5

      Case 1:19-cv-00272-LCB-LPA Document 99 Filed 05/11/21 Page 5 of 7
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                                             6

      Case 1:19-cv-00272-LCB-LPA Document 99 Filed 05/11/21 Page 6 of 7
                                CERTIFICATE OF SERVICE

       I certify that the foregoing document was filed electronically with the Clerk ofCourt

using the CM/ECF system which will send notification of such filing to all registered users.

Dated: May 11, 2021                                 /s/ Amy E. Richardson
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                                                7

       Case 1:19-cv-00272-LCB-LPA Document 99 Filed 05/11/21 Page 7 of 7
